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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                       )
                                               )
              v.                               )   No.     1:21-cr-28-8 (APM)
                                               )
KELLY MEGGS,                                   )
                                               )
                       Defendant.              )

          GOVERNMENT’S OPPOSITION TO DEFENDANT’S MOTION FOR
              RECONSIDERATION OF MOTION TO REMOVE THE
                SENSITIVE DESIGNATION OF CERTAIN VIDEO

       Defendants Kelly Meggs and Kenneth Harrelson 1 moved this Court to order the

government to remove sensitivity designations of certain videos. ECF 494. But the motion did

not identity the videos at issue. Indeed, after Defendant Meggs’ counsel emailed a copy of the

motion to us on November 23, 2021, we responded just four-and-a-half hours later, asking him to

clarify which videos he was seeking to release to the public. We also asked him to explain why

he was filing the motion in this case rather in United States v. Ryan Nichols, case 21-cr-00117-

TFH, in which the videos may be more directly at issue. He never responded. A copy of the

correspondence is below:




1
 While the motion itself lists only Kelly Meggs’ name, both the docket and the memorandum in
support of the motion indicate that Kenneth Harrelson is a co-movant.
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        Later in the day on November 23, after Defendants Kelly Meggs and Harrelson filed their

motion, ECF 494, the Court issued a minute order denying the motion without prejudice. The

Court instructed defense counsel to engage in “good faith” efforts to resolve the dispute before re-

filing such a motion.




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       Rather than contacting us, defense counsel for Defendant Kelly Meggs—this time

apparently without moving on behalf of Defendant Harrelson as well—moved for reconsideration

of the Court’s November 23, 2021, minute order.

       We still do not appreciate which video(s) are subject to the motion. Cf. ECF 498 at 1

(seeking permission to “publicly release one or more video(s),” but never identifying the videos).

And we still have not heard from defense counsel in a good-faith attempt to reach a resolution

without court intervention.

       The motion should be denied.

                                      Respectfully submitted,

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